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 1                                                                          Hon. David G. Estudillo
 2

 3

 4

 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 7

 8    AMERICAN FIRE AND CASUALTY
      COMPANY,                                      Case No. 3-21-cv-05601-DGE
 9                      Plaintiff,                  SKOUNTRIANOS DDS MS D/B/A
10           v.                                     ORTHODONTIC EXCELLENCE’S
                                                    AMENDED AND SUPPLEMENTAL
11    SKOUNTRIANOS DDS MS D/B/A
                                                    ANSWER AND COUNTERCLAIMS
      ORTHODONTIC EXCELLENCE,
12
                        Defendant.
13
      SKOUNTRIANOS DDS MS D/B/A
14    ORTHODONTIC EXCELLENCE,

15                      Counterclaim Plaintiff,
          v.
16
      AMERICAN FIRE AND CASUALTY
17    COMPANY,

18                      Counterclaim
                        Defendant.
19

20          Defendant Skountrianos DDS MS d/b/a Orthodontic Excellence (“OE”) answers
21    Plaintiff American Fire and Casualty Company’s (“American Fire”) Complaint as follows:
22                        I.         PARTIES, JURISDICTION AND VENUE
23          1.     Answering Paragraph 1, OE admits the same.
24          2.     Answering Paragraph 2, OE admits the same.
25          3.     Answering Paragraph 3, OE admits the same.
26



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 1                                            II.     FACTS
 2          4.      Answering Paragraph 4, OE admits that American Fire issued it a
 3   “Businessowners Policy,” with policy number BZA (19) 57 74 95 94 with a policy period of May
 4   1, 2018 to May 1, 2019 (the “Policy”). The Policy included, among other things, commercial
 5   property, business income, extended business income, and extra expense coverages.
 6          5.      Answering Paragraph 5, OE admits that a fire broke out at the insured location on
 7   September 9, 2018. OE avers that the insured location housed OE’s specialty orthodontics
 8   practice, not a dental practice. To the extent not expressly admitted, OE denies every allegation
 9   therein.
10          6.      Answering Paragraph 6, OE admits that in an effort to mitigate its business
11   income losses, OE entered into a purchase and sale agreement with a retiring orthodontist, Dr.
12   Patel, by which OE would assume care of Dr. Patel’s patients and direct the amounts collected to
13   Dr. Patel in exchange for, among other things, the right to treat OE’s own patients in Dr. Patel’s
14   location, and title to Dr. Patel’s equipment. To the extent not expressly admitted, OE denies
15   every allegation therein.
16          7.      Answering Paragraph 7, OE admits that the Policy provided coverage for, among
17   other things, business personal property and 12 months of business interruption coverage, and
18   that the Policy speaks for itself. To the extent not expressly admitted, OE denies every allegation
19   therein.
20          8.      Answering Paragraph 8, OE admits that American Fire issued payments toward
21   OE’s claims. To the extent not expressly admitted, OE denies every allegation therein.
22          9.      Answering Paragraph 9, OE is not presently aware of any dispute between itself
23   and American Fire regarding American Fire’s coverage obligations for property damage or
24   personal property. However, OE expressly reserves the right to assert any claim it may have or
25   become aware of in the future regarding the same. To the extent not expressly admitted, OE
26   denies every allegation therein.



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 1          10.     Answering Paragraph 10, OE admits the same.
 2          11.     Answering Paragraph 11, OE admits the same.
 3          12.     Answering Paragraph 12, OE denies that the “Appraisal provision” alleged
 4   therein is an accurate reproduction of the Policy language. OE avers that Exhibit A to American
 5   Fire’s Complaint is not a complete reproduction of the Policy. To the extent not expressly
 6   admitted, OE denies every allegation therein.
 7          13.     Answering Paragraph 13, OE admits that the Policy speaks for itself. To the
 8   extent not expressly admitted, OE denies every allegation therein.
 9          14.     Answering Paragraph 14, OE admits the same.
10          15.     Answering Paragraph 15, OE admits the same.
11          16.     Answering Paragraph 16, OE admits the same.
12          17.     Answering Paragraph 17, OE admits the same.
13          18.     Answering Paragraph 18, regarding what American Fire’s appraiser “requires,”
14   OE lacks sufficient information to admit or deny the allegations and therefore denies the same.
15   Regarding American Fire’s characterizations of what OE’s appraiser “prefers” in an umpire, OE
16   denies the same. To the extent not expressly admitted, OE denies every allegation therein.
17          19.     Answering Paragraph 19, OE admits the same.
18          20.     Answering Paragraph 20, OE denies every allegation therein. OE avers that its
19   appraiser suggested several umpires, including certified public accountants and retired judges
20   turned mediators. To the extent not expressly admitted, OE denies every allegation therein.
21                                    III.    CAUSE OF ACTION
22          21.     Answering Paragraph 21, to the extent an answer is required; OE incorporates by
23   reference all preceding paragraphs. To the extent not expressly admitted, OE denies every
24   allegation therein.
25          22.     Answering Paragraph 22, OE denies that American Fire is entitled to an order
26   appointing an umpire when American Fire has prejudicially delayed and frustrated the appraisal



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 1   process by unreasonably changing its unilateral “requirements” for an appraisal umpire over the
 2   course of many months. OE further denies that the only suitable umpire is a “qualified CPA with
 3   direct experience in measuring economic damages or business interruption claims for
 4   commercial property losses.” To the extent not expressly admitted, OE denies every allegation
 5   therein.
 6                                     IV.    PRAYER FOR RELIEF
 7          1.      Answering Paragraph 1, OE denies that American Fire is entitled to the relief it
 8   seeks. To the extent not expressly admitted, OE denies every allegation therein.
 9          2.      Answering Paragraph 2, OE denies that American Fire is entitled to costs and
10   attorney fees. To the extent not expressly admitted, OE denies every allegation therein.
11          3.      Answering Paragraph 3, OE denies that American Fire is entitled to any further
12   relief. To the extent not expressly admitted, OE denies every allegation therein.
13                                V.         AFFIRMATIVE DEFENSES
14       By way of further answer, OE asserts the following affirmative defenses:
15          1.      American Fire fails to state a claim on which relief can be granted.
16          2.      American Fire’s claim is barred in whole or in part by waiver, laches, and
17   estoppel.
18          3.      OE preserves any and all other defenses that may be available to it or that may be
19   discovered throughout the course of discovery in this matter.
20                    ORTHODONTIC EXCELLENCE’S COUNTERCLAIMS
21          Defendant/Counterclaim Plaintiff Skountrianos DDS, MS dba Orthodontic Excellence
22   alleges the following counterclaims against Plaintiff/Counterclaim Defendant American Fire and
23   Casualty Insurance Company:
24

25

26



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 1                                               I.   PARTIES
 2          1.      Defendant/Counterclaim Plaintiff Skountrianos DDS, MS dba Orthodontic
 3   Excellence (“OE”) is a Washington professional limited liability corporation whose members are
 4   Washington citizens.
 5          2.      Plaintiff/Counterclaim Defendant American Fire and Casualty Company
 6   (“American Fire”) is a company organized under the laws of the State of New Hampshire with its
 7   principal place of business in Massachusetts. American Fire is owned by Liberty Mutual Group.
 8                                II.          JURISDICTION, AND VENUE
 9          1.      The Court has jurisdiction pursuant to 28 U.S.C. § 1332(a) because the dispute is
10   between citizens of different states and the amount in controversy, exclusive of fees and costs,
11   exceeds $75,000.
12          2.      Venue is proper in this District because the acts and omissions giving rise to the
13   claim occurred in Pierce County, which is situated within the U.S. District Court for the Western
14   District of Washington.
15                                      III.    STATEMENT OF FACTS
16                             Orthodontic Excellence’s Practice and Growth
17          1.      OE is an orthodontics practice owned and operated by Dr. Helena Skountrianos
18   and Dr. Bobby Virk. OE treats patients for, among other things, dysfunction and/or trauma to the
19   teeth and jaw using interventions such as surgery, Invisalign, retainers, and braces. OE requires
20   specialized equipment and orthodontic tools to treat its patients.
21          2.      In 2016, Dr. Virk sold his Bellevue practice and joined OE. Dr. Virk entered into
22   a non-compete and non-solicitation agreement with the purchaser, which precluded him from
23   treating former patients at his new location.
24          3.      In an effort to grow OE’s business, Dr. Virk redesigned OE’s marketing strategy
25   and significantly increased its marketing budget year over year. Among other things, Dr. Virk
26   focused OE’s marketing efforts toward two areas of opportunity: (1) promoting OE’s Invisalign



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 1   expertise, and (2) making efforts to increase the number of referrals that OE received from local
 2   primary care dentists, which, as a group, were OE’s largest referral source.
 3          4.        OE’s increased and revised marketing efforts were highly successful. For
 4   example, in the first eight months of 2018 OE’s patients had increased by 57% year over year.
 5   OE’s growth was continuing on this robust trajectory at the time OE’s Puyallup location burned
 6   to the ground.
 7                                                 The Policy
 8          5.        To protect its business, OE purchased a commercial property policy from
 9   American Fire, which included, among other things, commercial property coverage, business
10   income loss and extra expense coverage, with the policy number BZA (19) 57 74 95 94 and an
11   effective date of May 1, 2018 to May 1, 2019 (the “Policy”).
12          6.        The Policy contains certain endorsements modifying or expanding coverage,
13   including the Washington Businessowners Property Endorsement and the Washington Changes
14   Endorsement. The Policy’s “Endorsement Period” is from June 12, 2018 to May 1, 2019.
15          7.        The Policy includes “Business Income” coverage, which provides, “We will pay
16   for the actual loss of Business Income you sustain due to the necessary suspension of your
17   ‘operations’ during the ‘period of restoration,’” which is caused by “direct physical loss of or
18   damage to property” at the insured premises.
19          8.        If an insured suffers “the necessary suspension of [its] ‘operations’ [that]
20   produces a Business Income loss payable under this policy,” OE is also entitled to “Extended
21   Business Income” coverage. This coverage “begins on the date property . . . is actually repaired,
22   rebuilt, or replaced, and ‘operations are resumed.’” Extended Business Income coverage ends on
23   “[t]he date [the insured] could restore [its] ‘operations’ with reasonable speed, to the level which
24   would generate the Business Income amount that would have existed if no direct physical loss or
25   damage had occurred,” or 60 consecutive days after the property is rebuilt and operations are
26   resumed, whichever is earlier.



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 1             9.    The Policy provides coverage for “Extra Expense,” which means “necessary
 2   expenses [incurred] during the ‘period of restoration’” that the insured “would not have incurred
 3   if there had been no direct physical loss or damage to property caused by or resulting from a
 4   Covered Cause of Loss.” This coverage is provided for costs incurred to, among other things,
 5   “avoid or minimize the suspension of business and to continue ‘operations’ . . . [a]t the
 6   replacement premises or at temporary locations, including . . . costs to equip and operate the
 7   replacement or temporary locations.”
 8                       The Fire, OE’s Claims for Coverage, and American Fire’s
 9                            Unreasonable Denial of Coverage and Benefits
               10.   On or about September 9, 2018, a fire destroyed the building in which OE’s
10
     practice was located. OE had purchased and specifically designed the building for its specialty
11
     orthodontics practice (the “Loss Location”). The Loss Location had six patient treatment chairs
12
     and a large lobby to welcome patients and comfort children and teenagers, who often arrived
13
     anxious about receiving treatment.
14
               11.   In the aftermath of the fire OE made claim to American Fire for the Policy
15
     benefits it had specifically purchased to guard against such catastrophes. On information and
16
     belief American Fire is a wholly owned subsidiary of Liberty Mutual.
17
               12.   As part of its claim, OE requested the benefits owed to it pursuant to the Policy’s
18
     business income loss and extra expense coverages. In return, American Fire/Liberty Mutual
19
     assigned an auditor-CPA named Brian Bukoskey to adjust OE’s business income loss and extra
20
     expense claim. On information and belief, Mr. Bukoskey is either a Liberty Mutual employee or
21
     the owner/employee of a nominally “outside” company so financially beholden to Liberty
22
     Mutual that he is under constant and significant economic pressure to reduce policyholders’
23
     claims.
24
               13.   American Fire denied all but $27,285.00 of OE’s business income and extra
25
     expense claim because, according to Mr. Bukoskey, the growth in OE’s practice was attributable
26



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 1   to Dr. Virk’s former practice and patients “merging” with OE’s Puyallup business. Mr.
 2   Bukoskey claimed that after this merger period OE’s growth would have quickly tapered off.
 3   The bases cited by Mr. Bukoskey for American Fire’s denial—which constituted virtually all of
 4   OE’s business income loss and extra expense claim—were, as set forth below, absurd.
 5             14.   First, Dr. Virk was subject to a non-compete/non-solicitation agreement
 6   prohibiting him from “merging” his former Bellevue practice (and its clients) with OE’s practice.
 7   Second, even if this was not the case, it strains the imagination to believe that the growth of OE’s
 8   practice was due to Dr. Virk’s former patients travelling 30 plus miles along one of the most
 9   congested stretches of Interstate 5 to see him in Puyallup. Third, at the time of the loss, Dr. Virk
10   had been practicing at OE’s Puyallup location for approximately 2 years; any merger period, to
11   the extent one existed in the first place, was over.
12             15.   OE retained Adjusters International (“AI”) to prepare a credible accounting of its
13   business income loss and extra expense. After AI’s review of OE’s financial documentation and
14   familiarization with its business and growth strategy, AI concluded that OE’s business income
15   and extra expense loss totaled $1,247,628.00 in the 12 months following the complete
16   destruction of OE’s practice. This was despite AI applying a conservative a 25% growth rate to
17   projected business income.
18                    American Fire’s Failure to Participate in Appraisal in Good Faith
19             16.   The disparity between the parties’ positions lead to OE eventually invoking the
20   Policy’s appraisal provision. OE selected CPA Luke Fischer as its appraiser and American Fire
21   selected Michael Vannucci. On information and belief, Mr. Vannucci derives significant income
22   from working for insurance companies (including Liberty Mutual) to reduce policyholders’
23   claims.
24             17.   Upon his retention, Mr. Vannucci requested a multitude of documents from Mr.
25   Fischer allegedly relevant to quantifying OE’s business income loss. However, before the
26   responsive documents had even been produced, Mr. Vannucci stated that he was ready to discuss



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 1   the outer limits of American Fire’s liability with Mr. Fischer. In subsequent communications,
 2   Mr. Vannucci repeated an unreasonably low number as representing the total amount of OE’s
 3   business income and extra expense loss. This was due to Mr. Vannucci immediately picking up
 4   Mr. Bukoskey’s false and improbable narrative: that OE’s growth was caused by Dr. Virk’s
 5   former Seattle-area practice and patients merging with OE’s Puyallup practice.
 6          18.     Mr. Fischer was unable to disabuse Mr. Vannucci of his preconceived notions or
 7   otherwise convince American Fire to reverse its unreasonable denial of the vast majority of OE’s
 8   claim. As a result, Mr. Fischer and Mr. Vannucci both proposed candidates for an umpire who
 9   would decide the amount of OE’ business income and extra expense losses in an appraisal
10   proceeding.
11          19.     Mr. Vannucci proposed three umpire candidates—none of whom are CPAs. All of
12   the proposed umpires had worked directly for insurance carriers, including Liberty Mutual.
13          20.     Mr. Fischer questioned whether an umpire who had worked almost exclusively
14   for and derived significant income from insurers, including Liberty Mutual, could be expected to
15   fairly and impartially value OE’s business income and extra expense loss. Mr. Fischer then
16   proposed three neutral umpires: one CPA, and two retired King County judges who now practice
17   as mediators/arbitrators: Judge Paris Kallas and Judge Steve Scott.
18          21.     American Fire rejected Mr. Fischer’s proposed umpires and retained counsel,
19   Sarah Eversole. Ms. Eversole proposed four more obviously biased umpires to Mr. Fischer,
20   including (1) one retired attorney who represented insurance companies during his career; (2)
21   one adjuster who worked for a firm specializing in carrier-side adjustments; (3) one CPA who
22   recently presented to the Washington Defense Trial Lawyers on “The Impact of COVID on
23   Claims”; and (4) another CPA whose firm almost exclusively performs work for carriers. Ms.
24   Eversole threatened that absent quick agreement, American Fire would petition a court to compel
25   an umpire appointment.
26



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 1          22.     Mr. Fischer asked Ms. Eversole whether these proposed candidates derived their
 2   revenue from adjusting claims for insurance carriers and specifically, for Liberty Mutual. Ms.
 3   Eversole responded that each candidate had performed work for Liberty Mutual “almost
 4   certainly.” However, she declared the umpire’s work history and client base “irrelevant.”
 5          23.     Mr. Fischer suggested two additional neutral umpires, both retired King County
 6   judges who now have mediation/arbitration practices: Judge John Erlick and Judge Bruce Heller.
 7   These proposed umpires were also rejected by American Fire.
 8          24.     American Fire’s complaint alleges that it would only agree to an umpire that met
 9   certain “criteria.” Such criteria, according to American Fire itself, includes an umpire with
10   “sufficient experience and expertise in handling the type of matter at issue with significant legal
11   and dispute resolution experience to fully carry out an umpire’s duties.” Compl. at Prayer for
12   Relief, pg. 5 (emphasis added). This is precisely the type of experience a CPA does not have but
13   that, for example, any of the former King County judges proposed by Mr. Fischer does.
14          25.     American Fire’s “requirements” that a CPA who worked extensively for insurers
15   serves as umpire is found nowhere in the Policy and is facially unreasonable. American Fire’s
16   insistence on one of its chosen CPAs is also impractical: a retired judge has much better
17   experience than a CPA presiding over contested matters, maintaining neutrality, and making
18   evidentiary determinations. Further, the notion that none of the four judges put forward by Mr.
19   Fischer, all with long and distinguished judicial careers, will be unable to follow basic
20   accounting principles in order to render a fair decision is (1) insulting and untrue, and (2)
21   undermined by American Fire’s previous recommendation of a carrier-side attorney as an
22   umpire. Indeed, five of the seven potential umpires put forward by American Fire are not
23   CPAs—they are adjusters or attorneys.
24          26.     Because American Fire’s Complaint and communications demonstrate a
25   protracted, unreasonable, and deliberate refusal to allow a fair appraisal, it is OE’s position that
26   American Fire has waived the Policy right to appraisal. OE believes that a jury should be



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 1   allowed to hear the evidence, determine OE’s business income and extra expense coverage, and
 2   consider the reasonableness of American Fire’s claims handling and failure to pay OE the policy
 3   benefits it has denied to date.
 4
                     American Fire Abuses the Appraisal Process in an Effort to Force
 5                              Unreasonable Coverage positions on OE

 6          27.     Eventually the Court order the parties to proceed to an appraisal. In so doing, the

 7   Court rejected each and every possible Umpire whom American Fire proposed. Instead, the

 8   Court appointed a retired judge, as OE had requested, the Honorable Curtis von Kann.

 9          28.     The commencement of the appraisal process did not bring American Fire’s

10   misconduct to heel. Rather, American Fire doubled down on its efforts unreasonably deny

11   coverage and deny OE the benefits it was owed under the Policy.

12          29.     First, American Fire persisted in pushing the same factual positions, including its

13   theory that Dr. Virk “merged” his practice with OE’s, that the facts flatly contradicted.

14          30.     Second, American Fire sought to unreasonably minimize the coverage and

15   benefits the Policy provides by adopting unreasonable policy interpretations. Among other

16   things, American Fire has taken the position that the Policy’s limits for business personal

17   property and extra expense loss may not be stacked. It has also claimed that the Policy’s extra

18   expense coverage is not triggered by expenses that OE incurred to replace destroyed supplies in

19   order to minimize the suspension of OE’s operations precisely because the supplies were needed

20   to operate OE’s business. American Fire sought to conceal this unreasonable policy

21   interpretations by instructing Mr. Vannucci to falsely present these as accounting principles for

22   the Umpire to adopt and apply.

23          31.     As a consequence, American Fire and its appraiser collaborated to minimize the

24   scope and even the existence of OE’s losses. OE’s appraiser concluded that OE’s combined

25   business income and extra expense loss exceeded a half million dollars. In contrast, American

26   Fire and its appraiser took the position that OE’s net loss of income from the complete



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 1   destruction of its business was “likely zero” and that the covered “extra expense” it incurred to
 2   set up a business at a temporary location amounted to under $3,000. There simply was no
 3   reasonable, good faith basis for these figures.
 4                     OE Gives American Fire Written Notice of Its Liability under
 5                        Washington’s Insurance Fair Conduct Act (“IFCA”)
            32.     Meanwhile, pursuant to RCW 48.30.015(8), OE gave written notice to American
 6
     Fire and to the Insurance Commissioner of the State of Washington of OE”s intent to assert a
 7
     claim against American Fire under Washington’s Insurance Fair Conduct Act (“IFCA”), and of
 8
     the basis for asserting this claim. OE did so on or about November 2, 2021.
 9
            33.     On or about November 24, 2021, American Fire responding to this notice by
10
     denying that it had violated IFCA or any other Washington statute or regulations.
11
                                      IV.     CLAIMS FOR RELIEF
12

13                                     FIRST CAUSE OF ACTION
                                          (Breach of Contract)
14
            34.     OE realleges and incorporates by reference each and every preceding paragraph.
15
            35.     OE paid valuable premiums in consideration for the Policy.
16

17          36.     American Fire breached its express and implied obligations and duties under the

18   Policy by, among other things, unreasonably investigating and failing to provide an explanation

19   for unreasonably denying OE’s business income claim, and failing to participate in the appraisal
20
     process in good faith.
21
            37.     By breaching the terms of the Policy, American Fire has caused and continue to
22
     cause OE damages in an amount to be proven at trial, but not less than $1,247,628.00.
23
                                     SECOND CLAIM FOR RELIEF
24
                                       (Common Law Bad Faith)
25
            38.     OE realleges and incorporates by reference each and every preceding paragraph.
26



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 1          39.     American Fire owe a duty of good faith and fair dealing to OE.
 2
            40.     American Fire committed bad faith through multiple acts and omissions,
 3
     including but not limited to: failing to conduct a reasonable investigation of the Claim;
 4
     unreasonably failing to connect the controlling law and language of the Policy to the facts of the
 5
     loss; failing to put OE’s interests on a par with its own; failing to participate in the appraisal
 6

 7   process in good faith; and unreasonably denying OE the business income loss coverage

 8   American Fire owes under the Policy. American Fire’s unreasonable acts and omissions
 9   constitute bad faith under Washington law.
10
            41.     American Fire’s bad faith acts and omissions directly and proximately caused
11
     (and continue to cause) OE to suffer damages in an amount to be proven at trial. These include,
12
     but are not limited to, the deprivation of benefits owed to OE under the Policy and the costs
13

14   associated with bringing this counterclaim for coverage, including court costs and attorney fees.

15                                   THIRD CLAIM FOR RELIEF
                        (Per Se and Non Per Se Consumer Protection Act Claims)
16
            42.     OE realleges and incorporates by reference each and every preceding paragraph.
17
            43.     American Fire’s acts and omissions as described above violated multiple
18

19   provisions of the Washington Administrative Code Section 284-30-330 including, but not limited

20   to, subsections (4), (7); (13) and (18); such violations are per se violations of RCW 19.86,
21   Washington’s Consumer Protection Act (the “CPA”).
22
            44.     American Fire’s acts and omissions, as pled above, also constitute non per se
23
     violations of the CPA. Such unreasonable acts and omissions were unfair or deceptive, occurred
24
     in trade or commerce, and affected Washington’s policyholders and the public interest.
25

26          45.     American Fire’s unfair or deceptive acts or omissions directly and proximately



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 1   caused and continue to cause OE to suffer damages in an amount to be proven at trial. These
 2
     damages include, but are not limited to, the deprivation of benefits owed to OE under the Policy
 3
     and the costs associated with bringing this action for coverage, including court costs and attorney
 4
     fees.
 5
             46.    OE is entitled to recover its actual damages, attorney fees, litigation costs and
 6

 7   treble damages up to $25,000, pursuant to RCW 19.86.090.

 8                                  FOURTH CLAIM FOR RELIEF
                                        (Declaratory Relief)
 9
             47.    OE realleges and incorporates by reference each and every preceding paragraph.
10

11           48.    A clear and present dispute exists between American Fire and OE as to the

12   measure of OE’s business income loss, what experience an umpire should have, and whether as

13   related to their respective rights and obligations as to coverage under the policies. Accordingly,
14
     OE seeks declaratory judgment that:
15
             a.     American Fire’s investigation under the Policy was unreasonable;
16
             b.     American Fire unreasonably denied OE’s business income claim for coverage;
17
             c.     American Fire failed to make a good faith effort to settle before exercising the
18

19                  Policy’s appraisal provision;

20           d.     American Fire had an obligation to act reasonably in the selection of an umpire
21                  and that such obligation included (1) attempting to employ an umpire reasonably
22
                    certain to be impartial and/or (2) agreeing to an umpire, such as those suggested
23
                    by Mr. Fischer, reasonably certain to be impartial;
24
             e.     That American Fire’s frustration of the appraisal process to date through its
25

26                  patently unreasonable and unfair claims handling including, but not limited to, its



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 1                   demand that an obviously partial and financially beholden umpire be used to
 2
                     determine OE’s business income and extra expense loss, has resulted American
 3
                     Fire’s waiver of its right to appraisal; and
 4
            f.       Any other declaratory relief as the Court may deem appropriate.
 5

 6                                   FIFTH CLAIM FOR RELIEF
 7                        (Violation of the Insurance Fair Conduct Act (IFCA)

 8         49.       OE realleges and incorporates by reference each and every preceding paragraph.

 9         50.       American Fire is liable under IFCA for, among other things: failing to conduct a
10   reasonable investigation into OE’s claim under the Policy; compelling OE to initiate litigation to
11
     recover amounts due to it under the Policies; failing to reasonably connect the Policy’s language,
12
     on which the denial relies, to controlling law and the facts of OE’s claim; and unreasonably
13
     denying OE’s claim and all policy benefits. In addition, American Fire is liable under IFCA for
14

15   violating multiple provisions of the Washington Administrative Code Section 284-30-330,

16   including, at minimum:

17         a.        WAC 284-30-330(3) (making it an unfair claims handling practice to “fail to
18         adopt and implement reasonable standards for the prompt investigation of claims arising
19
           under insurance policies.”);
20
           b.        WAC 284-30-330(4) (making it an unfair claims handling practice to “refuse to
21
           pay claims without conducting a reasonable investigation.”);
22

23         c.        WAC 284-30-330(7) (making it an unfair claims handling practice to “compel a

24         first party claimant to initiate or submit to litigation, arbitration, or appraisal to recover

25         amounts due under an insurance policy by offering substantially less than the amounts
26
           ultimately recovered in such actions or proceedings.”);


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 1         d.        WAC 284-30-330(13) (making it an unfair claims handling practice to “fail to
 2
           promptly provide a reasonable explanation of the basis in the insurance policy in relation
 3
           to the facts or applicable law for denial of a claim or for the offer of a compromise
 4
           settlement.”); and
 5
           e.        WAC 284-30-330 (18) making it an unfair claims handling practice to “fail to
 6

 7         make a good faith effort to settle a claim before exercising a contract right to appraisal.”).

 8         51.       American Fire’s acts and omissions in violation of IFCA have proximately and
 9   directly caused and continue to cause OE to suffer damages in an amount to be proven at trial.
10
           52.       In addition to its actual damages, OE is entitled to recover its attorney fees,
11
     litigation costs, and expert witness fees pursuant to RCW 48.30.015(3).
12
           53.       Finally, this Court may award up to three times OE’s actual damages pursuant to
13

14   RCW 48.30.015(3).

15                                   V.         REQUEST FOR RELIEF
16          WHEREFORE, Orthodontic Excellence prays for relief as follows:
17
            1.       For damages in an amount to be proven at trial;
18
            2.       For declaratory relief as described above;
19          3.       For prejudgment interest accruing until the date a judgment is entered, plus post-
20   judgment interest at the statutory rate;
21          4.       For treble damages under the Consumer Protection Act and under the Insurance
22   Fair Conduct Act;
23          5.       For coverage by estoppel;
24          6.       For costs and disbursements, including reasonable attorney fees; and
25          7.       For such further relief as the Court deems just and equitable.
26



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 1           DATED this 10th day of January 2023.
                                                    s/ Tristan Swanson
 2                                                  Tristan Swanson, WSBA No. 41934
                                                    s/ Donald B. Scaramastra
 3                                                  Donald B. Scaramastra, WSBA No. 21416
                                                    s/ Carolyn Mount
 4                                                  Carolyn Mount, WSBA No. 55527
 5                                                  Miller Nash LLP
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10
                                                         Attorneys for Orthodontic Excellence
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 1                                    CERTIFICATE OF SERVICE
 2          I hereby certify that on January 10th, 2023, I electronically filed the foregoing with the
 3   Clerk of the Court using the CM/ECF system which will send notification of such filing to all
 4   counsel of record.
 5

 6          DATED this 10th day of January 2023.
 7
                                                   s/ Cara Lowrance
 8                                                 Cara Lowrance, Legal Assistant
 9

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